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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT GF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

[a] Original Plan
[| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[| Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

 

 

DEBTOR: JULIO OSTINVIL
SS#: xxx-xx~ 4426

JOINT DEBTOR: MIRACIEUSE OSTINVIL-&y CASE NO.; 19-14909-MAM
SSH: xxx-xx-1238

 

1 NOTICES

To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)}(5), 3015-1(B}(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIL. Debtor(s) must check one

box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a .

‘ ° - Includ Not included
partial payment or no payment at all to the secured creditor im] Included [] Not include
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set :
out in Section Ti [] Included [m] Not included
Nonstandard provisions, set out in Section VIII [] Included {m] Not included

 

 

Ik. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,982.00 for months 1 to 60;
B. DEBTOR(S)' ATTORNEY'S FEE: | NONE UC] PRO BONO
Total Fees: $4275.00 Total Paid: $475.00 Balance Due: $3800.00
Payable $475.00 ‘month (Months | to 8 )

Allowed fees under LR 2016-1(8)(2) are itemized below:
$3500.00 Base Legal Fee; $775.00 to file Motion to Value Homestead

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

TH. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: ["] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)} Mortgage(s)/Lien on Real or Personal Property:

 

I. Creditor: Onewest Bank N.A/CIT Bank

 

 

Address: POB 9013 Arrearage/ Payoff on Petition Date 38,147.74
Addison, TX 75001 Arrears Payment (Cure) $232.86 fmonth (Months 1 to 8 )
Last 4 Digits of Arrears Payment (Cure) $697.80 ‘month (Months 9 to 60.)
Account No.: 2442 Regular Payment (Maintain) $1,094.01 /month (Months 1 to_60_)

Other:

 

 

 

 

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Debtor(s}: JULIG OSTINVIL, MIRACIEUSE OSTH Case number: 19-14909-MAM

 

 

[mj Real Property Check one below for Real Property:
Em Principal Residence {m|Escrow is included in the regular payments
{Other Real Property [|The debtor(s) will pay [T]taxes [_Jinsurance directly

Address of Collateral:
784 SW Sarazen Ave
Port Saint Lucie, FL 34953

[| Personal Property/Vehicle

Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [7] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3,

1. REAL PROPERTY: [|] NONE

 

1. Creditor; US Bank N.A. as Trustee- | Value of Collateral: $225,500.00 Payment
Specialized Loan Servicing . nn sas
LLC - CTX Mortgage Amount of Creditor's Lien: $0.00 Total paid in plan: $0.00
Company, LLC/Gmac
Mortgage Interest Rate: 0.00% $0.00 ‘month (Months to

Address: 3451 Hammond Ave
Waterloo, IA 50702 Check one below:
[| Escrow is included in the monthly

Last 4 Digits of Account No.; 7278 . i, .
TT mortgage payment listed in this section

Real Property [m] The debtor(s) will pay

fm] Principal Residence [m]taxes [mJinsurance directly
[ ]Other Real Property

Address of Collateral:

784 SW Sarazen Ave
Port Saint Lucie, FL 34953

 

 

 

 

 

 

2. VEHICLES(S): [il] NONE
3. PERSONAL PROPERTY: [ll] NONE

C. LIEN AVOIDANCE [i] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[a] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

a} NONE
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [ml] NONE
B. INTERNAL REVENUE SERVICE: [7] NONE

 

 

 

Total Due: $192.18 Total Payment $192.18
Payable: $10.00 /month (Months 9 to 28 }
Payable: $2.18 /month (Months 29 to 29 )

 

C. DOMESTIC SUPPORT OBLIGATION(S): [ll] NONE
BD. OTHER: [i] NONE

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Debtor(s); FULIO OSTINVIL, MIRACIEUSE OSTM Case number: 19-14909-MAM

Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $7.82 ‘month (Months 29 to 29 )
Pay $10.00 ‘month (Months 30 to 60_)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [[] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [if] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VIL EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

fl] NONE
VIL INCOME TAX RETURNS AND REFUNDS: [il] NONE
VIH. NON-STANDARD PLAN PROVISIONS [il] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor
JULIO OSTINVIL Date MIRACIEUSE OSTINVIL-DELMAS Date

 

 

/s/Mitchell J. Nowack, Esq.
Attorney with permission to sign on Date
Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIIE

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